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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CHRISTINE COIL,

       Plaintiff,                                         Case No. 13-cv-08688

v.                                                        Magistrate Judge Young B. Kim

WALLACE PAVING, INC.,

       Defendant.


                      JOINT MOTION TO APPROVE SETTLEMENT

       Plaintiff, Christine Coil, and Defendant, Wallace Paving, Inc. (collectively, the

“Parties”), by and through their undersigned counsel, hereby move this Court to approve the

Parties settlement of this action and state as follows:

       1.      Plaintiff filed this action on December 5, 2013 stating a single cause of action for

violations of the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201, et seq. and Defendant

answered the complaint on January 24, 2014.

       2.      The Parties have diligently negotiated in good faith to reach a settlement of

Plaintiff’s claim and have, in fact, reached a mutually agreeable settlement.

       3.      The Parties mutually agree that the settlement reached presents a fair and

reasonable resolution of Plaintiff’s claims without the need for further litigation.

       4.      Pursuant to the provisions of the FLSA, the Parties now jointly move this Court

for approval of the settlement, submitted to the Court for in camera review as Exhibit 1.

       5.      Upon the Court’s approval of the proposed settlement, the parties intend to file a

joint stipulated motion to dismiss this action.
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       WHEREFORE Plaintiff, Christine Coil, and Defendant, Wallace Paving, Inc.,

respectfully move this Court to approve the Parties’ proposed settlement.


Dated: August 1, 2014


On behalf of Plaintiff,                       On behalf of Defendant,


By: /s/ Ethan E. White                        By:/s/ William Peter Boznos
   Michael I. Leonard                         George S. Bellas
   Ethan E. White                             William Peter Boznos
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                         Exhibit 1
   (submitted directly to chambers for in camera review only)




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